     Case 1:12-cr-00033-HSO-RHW       Document 586     Filed 05/18/17    Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA                §
                                        §
                                        §
v.                                      §                       1:12cr33-HSO-RHW-9
                                        §                             1:17cv121-HSO
                                        §
JOHN ASHLEY PERRETTE                    §



                      CERTIFICATE OF APPEALABILITY

       A final order adverse to the applicant having been filed in the captioned habeas

corpus case, in which the detention complained of arises out of a proceeding pursuant

to 28 U.S.C. § 2255, the Court, considering the record in this case and the requirements

of 28 U.S.C. § 2253, Rule 22(b) of the Federal Rules of Appellate Procedure, and Rule

11(a) of the Rules Governing Section 2255 Proceedings for the United States District

Courts, hereby finds that:

       A Certificate of Appealability should not issue in this case. The applicant has

failed to make a substantial showing of the denial of a constitutional right.



Date: May 18, 2017                      s/ Halil Suleyman Ozerden
                                        HALIL SULEYMAN OZERDEN
                                        UNITED STATES DISTRICT JUDGE
